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                                           June 25, 2024

VIA ECF
Hon. Mia R. Perez, U.S.D.J.
Eastern District of Pennsylvania
6614 U.S. Courthouse, Room 6-A
601 Market Street
Philadelphia, PA 19106

         Re:      Janet Monge v. University of Pennsylvania, et al.
                  Civil Action No.:2:22-cv-02942

Dear Judge Perez:

       We represent Defendants Billy Penn and Maya Kassutto (“Defendants”) in the above-
referenced matter. We are in receipt of the Court’s Status Conference Notice dated June 24,
2024 which requires trial counsel to appear for a conference on July 2, 2024. I have a long
planned family vacation scheduled for next week and respectfully request that my colleague,
Alexander Nemiroff, Esq., who has previously appeared in this case, be permitted to appear in
my place on behalf of Defendants at the conference.

         We thank Your Honor for your attention to this matter.


                                               Respectfully Submitted,

                                               GORDON REES SCULLY MANSUKHANI, LLP

                                               Ronald A. Giller

                                               Ronald A. Giller


RAG/ct
cc: All Counsel of Record (via ECF)
